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         ORDERED in the Southern District of Florida on March 7, 2017.




                                                              Erik P. Kimball, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________


                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      WEST PALM BEACH DIVISION

        In re:                                                              Case No. 16-12852-EPK
                 MICHAEL WATTNER                                            Chapter 7

              Debtor.
        ______________________________________/

             AMENDED ORDER GRANTING SPACE COAST CREDIT UNION’S MOTION
                                   FOR RELIEF FROM STAY
                  (Amended to add Additional Language as to In Personam Remedies)

                 THIS CAUSE came before the Court on Space Coast Credit Union’s (“Space Coast”)

        Motion for Relief from Stay (the “Motion”) [D.E. 60], and Space Coast by submitting this form

        of order having represented that the motion was served on all parties required by Local Rule

        4001-1, that the 14-day response time provided by that rule has expired, that no one has filed, or

        served on the movant, a response to the motion, and that [either] the form of order was attached

        as an exhibit to the motion [or] the relief to be granted in this order is the identical relief

        requested in the motion. Based thereon it is

                 ORDERED that:
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       1.       Space Coast’s Motion is GRANTED.

       2.       The automatic stay is hereby modified to permit Space Coast to exercise all in

rem and in personam rights and remedies against its collateral, including taking possession of

and auctioning the collateral, more fully described as 2008 Ford Truck F350 VIN#

1FTWW3131R68EB61930 (the “Vehicle”).

       3.       The relief granted herein permits Space Coast to in rem take action against the

Vehicle and to seek or obtain in personam relief against the Debtor pursuant to the executed and

filed Reaffirmation Agreement [D.E. 29 & D.E. 30] and the Motion for Stay Relief which was

filed on February 14, 2017 [D.E. 60].

       4.       The relief granted herein shall be binding and effective despite any conversion of

this case to another chapter under the Bankruptcy Code.

       5.       The Court retains jurisdiction to enforce and implement the terms and provisions

of this Order, and enter further orders as are proper.

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Submitted by:

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Attorney Isabel V. Colleran shall serve a copy of this Order on all interested parties and shall
file a Certificate of Service.
